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                                                                    IN THE UNITED STATES DISTRICT COURT
                                                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                                                            FORT WORTH DIVISION

  UNITED STATES OF AMERICA
  v.                                                                                                                                 CRIMINAL NO. 4:24-CR-1-Y
  JOHN ANTHONY CASTRO


                                                                           GOVERNMENT'S EXHIBIT LIST

                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

  Exhibits Related to John Castro’s Background
      1             Ma          Print-out from Castro & Co. website
      2             Ma          Castro's Texas Driver’s License
      3             Ma          U.S. Military Academy Prepareatory School records for Castro
      4             Ma          Texas A&M School records for Castro
      5             Ma          University of New Mexico School of Law School records for Castro
      6             Ma          Georgetown University Law School records for Castro
      7             Ma          July 18, 2016 Letter from Florida Bar to Castro (2 pages)
      8             Ma          Enrollment Status records for IRS
      9             Ma          Castro’s personal income taxes for 2016
     10             Ma          Castro’s personal income taxes for 2017
     11             Ma          Castro’s personal income taxes for 2019
     12             Ma          Castro’s personal income taxes for 2020
     13             Ma          Castro’s personal income taxes for 2021
     14             Ma          Castro’s personal income taxes for 2022
     15             Ma          Castro’s Criminal History
     16             Ma          Castro’s Resume from Gudorf Law Firm




* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

     17             Ma          Castro Tweet dated September 7, 2023
     18             Ma          Castro Tweet dated Spetmber 11, 2023
     19             Ma          "Inside Sources" article with Castro Interview, dated Oct. 22, 2023
     20             Ma          The Hill article with Castro interview, dated January 10, 2024
     21             Ma          Newsweek article dated January 11, 2024
  Exhibits Related to Castro & Co.
     22             Ma          IP Address records for Filings from Castro’s home
     23             Ma          Castro PTIN Application and Renewal records
     24             Ma          CCH records
     25             Ma          Castro Laptop
     26             Ma          Castro & Co Application for EFIN #596507
     27             Ma          Castro & Co Application for EFIN #503328
     28             Ma          SmartVault records (excel file)
     29            N/A          Reserved
     30            N/A          Reserved
  Emails from Castro to Agents and Prosecutors
     31             Ma          January 5, 2022 Email from Castro to Ma (5:48 pm) (2 pages)
     32             Ma          January 5, 2022 Email from Castro to Ma (7:15 pm) (5 pages)
     33             Ma          January 6, 2022 Email from Castro to Ma (3:34 pm)
     34             Ma          January 7, 2022 Email from Castro to Ma and Bratt (6:28 pm)
     35             Ma          January 12, 2022 Email from Castro to Ma and Bratt (3:28 pm)
     36             Ma          January 12, 2022 Email from Castro Bratt and Ma (3:44 pm)
     37            N/A          Reserved
     38             Ma          January 17, 2022 Email from Castro to Bratt and Ma (7:24 pm) (6 pages)
     39             Ma          January 18, 2022 Email from Castro to Bratt and Ma (6:53 pm) (3 pages)
     40             Ma          January 18, 2022 Email from Castro to Bratt and Ma (11:37 am)
     41             Ma          January 18, 2022 Email from Castro to Bratt (2:52 pm)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

     42            N/A          Reserved
     43            N/A          Reserved
     44            N/A          Reserved
     45            N/A          Reserved
  Bank Records
     46             Ma          Bank of America Account 4868 (January 2015 to August 2018)
     47             Ma          Bank of America Account 4868 (October 2018 to September 2020)
     48             Ma          Chase Account 5951 (February 2017 to September 2018)
     49             Ma          Chase Account 5951 (October 2018 to September 2020)
     50             Ma          Chase Account 1523 (May 2018)
     51             Ma          Chase Account 7539 (May 2018)
     52             Ma          Chase Account 5976 (March 2018)
     53             Ma          Chase Account 5976 Transactions (December 2018 – July 2020)
     54             Ma          Chase Account 1797 (April 2018)
     55             Ma          Chase Account 1797 Transactions (December 2018 – August 2020)
  Summary Charts
     56             Ma          Summary Chart of Allocation of Refunds
     57          Wieborg        Summary Chart of Tax Loss by Counts
     58       Ma/Wieborg        Summary Chart of Counts with Underlying Issues
     59             Ma          Summary Chart of IP Address records
     60         Lampkin         Summary for Ahmad Lampkin
     61           Meyer         Summary for John and Kelley Meyer
     62            Natt         Summary for Michael and Angelita Natt
     63         Ragsdale        Summary for Randolph and Robin Ragsdale
     64           Rivera        Summary for Linda Rivera
     65           Putica        Summary for Michael and Mirjana Putica




* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

  IRS Tax Calculations for Each Victim
     66          Wieborg        Criminal Tax Computations for Claytons
     67          Wieborg        Criminal Tax Computations for Boggs and Fifi-Boggs
     68          Wieborg        Criminal Tax Computations for Rivera
     69          Wieborg        Criminal Tax Computations for Karavangelos
     70          Wieborg        Criminal Tax Computations for Ragsdale
     71          Wieborg        Criminal Tax Computations for Solas
     72          Wieborg        Criminal Tax Computations for Zilinskis
     73          Wieborg        Criminal Tax Computations for Meyers
     74          Wieborg        Criminal Tax Computations for Wells
     75          Wieborg        Criminal Tax Computations for Quigleys
     76          Wieborg        Criminal Tax Computations for Puticas
     77          Wieborg        Criminal Tax Computations for Natts
     78          Wieborg        Criminal Tax Computations for Lampkin
     79          Wieborg        Criminal Tax Computations for Ramos
     80          Wieborg        Criminal Tax Computations for Turatti
  Records related to Victim “Angela Jackson”
     81          Johnson        2017 Form 1040 for Angela Jackson (31 pages)
     82          Johnson        Summary Chart related to Jackson
     83          Johnson        Blank Castro forms to be filled out by clients
     84          Johnson        Draft taxes for Jackson completed by Castro, dated April 24, 2018 (21 pages)
     85          Johnson        February 1, 2018 Message from Jackson to Castro & Co. (9:45 am)
     86          Johnson        February 1, 2018 Message from Castro & Co. to Castro (9:45 am)
     87          Johnson        February 1, 2018 Message from Castro to Castro (11:39 am)
     88          Johnson        February 1, 2018 Message from Castro & Co. to Jackson (7:02 pm)
     89          Johnson        February 1, 2018 Message from Jackson to Castro & Co. (8:19 pm)
     90          Johnson        February 2, 2018 Message from Castro & Co. to Jackson (10:01 am)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

     91          Johnson        February 5, 2018 Message from Jackson to Castro & Co. (1:07 pm)
     92          Johnson        February 5, 2018 Message from Castro & Co. to Jackson (2:21 pm)
     93          Johnson        Recording of 2/13/2018 Conversation between Jackson and Castro
     94          Johnson        Transcript of 2/13/2020 Conversation between Jackson and Castro
     95          Johnson        February 14, 2018 Message from Castro & Co. to Jackson (12:18 pm)
     96          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (2:37 pm)
     97          Johnson        February 15, 2018 Message from Jackson to Castro & Co. (4:00 pm)
     98          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (4:28 pm)
     99          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (4:28 pm)
    100          Johnson        Recording of 3/2/2018 Conversation between Jackson and Ishmael Garza
    101          Johnson        Transcript of 3/2/2018 Conversation between Jackson and Ishmael Garza
    102          Johnson        March 12, 2018 Message from Castro to Jackson (1:04 am)
    103          Johnson        2017 Tax Proposal from Castro to Jackson, dated March 12, 2018 (2 pages)
    104          Johnson        March 14, 2018 Message from Jackson to Castro (2:22 pm)
    105          Johnson        March 14, 2018 Message from Castro & Co. to Jackson (2:23 pm)
    106          Johnson        March 14, 2018 Message from Castro & Co. to Jackson (4:57 pm)
    107          Johnson        Tax Transcript for Jackson 2017 Taxes
  Records related to Victims Paul and Alissa Clayton
    108          Clayton        Clayton’s 2017 Taxes, as filed by Castro (49 pages)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    109          Clayton        2017 Tax Interview Packet (33 pages)                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    110          Clayton        May 22, 2017 Email from Clayton to Castro (11:27 am)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    111          Clayton        April 1, 2018 Email from Castro to Clayton (5:45 am)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    112          Clayton        May 29, 2018 Email from Castro employee to Clayton (3:38 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    113             Ma          Tax Transcript for Clayton 2017 Taxes                                                                (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims James Boggs and Frances Fifis-Boggs
    114        Fifi-Boggs       Boggs & Fifis-Boggs 2017 Taxes, as filed by Castro (42 pages)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    115        Fifi-Boggs       Boggs & Fifis-Boggs 2018 Taxes, as filed by Castro (43 pages)                                        (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    116        Fifi-Boggs       Boggs & Fifis-Boggs 2019 Taxes, as filed by Castro (34 pages)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    117        Fifi-Boggs       March 5, 2018 Email from Castro to Boggs & Fifis-Boggs                                               (Admission stipulated by parties. See Dkt. No. 36.)

    118        Fifi-Boggs       2017 Tax Proposal (2 pages)                                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    119        Fifi-Boggs       Business Expenses provided by Boggs & Fifis-Boggs to Castro, 2017-2019 (4 pages) (Admission stipulated by parties. See Dkt. No. 36.)
    120        Fifi-Boggs       April 14, 2019 Email from Castro to Boggs & Fifis-Boggs                                              (Admission stipulated by parties. See Dkt. No. 36.)

    121        Fifi-Boggs       2018 Tax Proposal (2 pages)                                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    122        Fifi-Boggs       April 14, 2020 Email from Castro employee to Boggs & Fifis-Boggs                                     (Admission stipulated by parties. See Dkt. No. 36.)

    123        Fifi-Boggs       2019 Tax Proposal (2 pages)                                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    124        Fifi-Boggs       March 25, 2021 Email from Castro to Boggs & Fifis-Boggs                                              (Admission stipulated by parties. See Dkt. No. 36.)

    125        Fifi-Boggs       September 29, 2021 Email from Castro to Boggs & Fifis-Boggs                                          (Admission stipulated by parties. See Dkt. No. 36.)

    126        Fifi-Boggs       October 4, 2021 Email from Castro to Boggs & Fifis-Boggs                                             (Admission stipulated by parties. See Dkt. No. 36.)

    127        Fifi-Boggs       October 22, 2021 Email from Castro to Boggs & Fifis-Boggs                                            (Admission stipulated by parties. See Dkt. No. 36.)

    128             Ma          Tax Transcript for Boggs and Fifi-Boggs 2017 Taxes                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    129             Ma          Tax Transcript for Boggs and Fifi-Boggs 2018 Taxes                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    130             Ma          Tax Transcript for Boggs and Fifi-Boggs 2019 Taxes                                                   (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victim Linda Rivera
    131           Rivera        Rivera 2017 Taxes, as filed by Castro (38 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    132           Rivera        Rivera 2018 Taxes, as filed by Castro (35 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    133           Rivera        Rivera 2019 Taxes, as filed by Castro (35 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    134           Rivera        2017 Tax Interview Packet for Rivera (33 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    135           Rivera        2018 Tax Interview Packet for Rivera (29 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    136           Rivera        2019 AI Tax Interview for Rivera (22 pages)                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    137           Rivera        Client info sheet for Rivera for 2018 (2 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    138           Rivera        Spreadsheets of Rivera 2017 business income and expenses                                             (Admission stipulated by parties. See Dkt. No. 36.)

    139           Rivera        March 22, 2019 Email from Castro to Rivera (12:55 am)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    140           Rivera        February 29, 2020 Email from Castro to Rivera (4:04 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    141             Ma          Tax Transcript for Rivera 2017 Taxes                                                                 (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    142             Ma          Tax Transcript for Rivera 2018 Taxes                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    143             Ma          Tax Transcript for Rivera 2019 Taxes                                                                 (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Christian and Ciara Karavangelos
    144       Karavangelos      Karavangelos 2017 Taxes, as filed by Castro (37 pages)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    145       Karavangelos      Karavangelos 2018 Taxes, as filed by Castro (55 pages)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    146       Karavangelos      Karavangelos 2019 Taxes, as filed by Castro (50 pages)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    147       Karavangelos      2017 Tax Interview Packet for Karavangelos (33 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    148       Karavangelos      2018 Tax Interview Packet for Karavangelos (29 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    149       Karavangelos      2019 AI Tax Interview for Karavangelos (7 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    150       Karavangelos      Client info sheet for Karavangelos for 2017 (3 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    151       Karavangelos      Spreadsheets of Karavangelos business income and expenses                                            (Admission stipulated by parties. See Dkt. No. 36.)

    152       Karavangelos      2017 Tax Letter from Castro to Karavangelos                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    153       Karavangelos      2018 Tax Letter from Castro to Karavangelos                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    154       Karavangelos      April 6, 2017 Email from Castro to Karavangelos                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    155       Karavangelos      April 6, 2017 Email from Karavangelos to Castro                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    156       Karavangelos      April 12, 2017 Email from Castro to Karavangelos                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    157       Karavangelos      April 12, 2017 Email from Karavangelos to Castro                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    158       Karavangelos      March 23, 2018 Email from Castro to Karavangelos                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    159       Karavangelos      March 24, 2018 Email from Karavangelos to Castro                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    160       Karavangelos      March 17, 2019 Email from Castro to Karavangelos                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    161       Karavangelos      March 18, 2019 Email from Karavangelos to Castro                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    162       Karavangelos      March 18, 2019 Email from Hunt to Karavangelos                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    163       Karavangelos      March 18, 2019 Email from Karavangelos to Hunt                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    164       Karavangelos      March 18, 2019 Email from Hunt to Karavangelos                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    165       Karavangelos      April 2, 2020 Email from Castro to Karavangelos                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    166       Karavangelos      April 3, 2020 Email from Karavangelos to Castro                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    167       Karavangelos      March 19, 2021 Email from Castro & Co. to Karavangelos                                               (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    168             Ma          Tax Transcript for Karavangelos 2017 Taxes                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    169             Ma          Tax Transcript for Karavangelos 2018 Taxes                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    170             Ma          Tax Transcript for Karavangelos 2019 Taxes                                                           (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Randolph and Robin Ragsdale
    171         Ragsdale        Ragsdale 2017 Taxes, as filed by Castro (31 pages)
    172         Ragsdale        Ragsdale 2018 Taxes, as filed by Castro (55 pages)
    173         Ragsdale        Ragsdale 2019 Taxes, as filed by Castro (61 pages)
    174         Ragsdale        2017 Tax Interview Packet for Ragsdale (33 pages)
    175         Ragsdale        2018 Tax Interview Packet for Ragsdale (30 pages)
    176         Ragsdale        2019 AI Tax Interview for Ragsdale (8 pages)
    177         Ragsdale        Client info sheet for Ragsdale for 2017 (3 pages)
    178         Ragsdale        Client info sheet for Ragsdale for 2018 (3 pages)
    179         Ragsdale        Client info sheet for Ragsdale for 2019 (3 pages)
    180         Ragsdale        2017 Tax Documents provided by Ragsdale (53 pages)
    181         Ragsdale        2018 Tax Documents provided by Ragsdale (455 pages)
    182         Ragsdale        2019 Tax Documents provided by Ragsdale (148 pages)
    183         Ragsdale        Ragsdale personal income and expenses prepared by Ragsdale (2017) (2 pages)
    184         Ragsdale        Ragsdale personal income and expenses prepared by Ragsdale (2018) (2 pages)
    185         Ragsdale        Ragsdale personal income and expenses prepared by Ragsdale (2019) (2 pages)
    186         Ragsdale        IRS Letter dated May 24, 2020 (11 pages)
    187         Ragsdale        IRS Letter dated November 1, 2021 (32 pages)
    188            N/A          Reserved
    189            N/A          Reserved
    190            N/A          Reserved
    191         Ragsdale        March 16, 2018 Email from Castro to Ragsdale (3:44 pm)
    192         Ragsdale        May 02, 2019 Email from Ragsdale to Castro (7:47 pm)
    193         Ragsdale        May 02, 2020 Email from Castro Employee to Ragsdale (12:56 pm)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    194         Ragsdale        April 1, 2021 Email from Ragsdale to Castro Employee (2:44 pm)
    195            N/A          Reserved
    196            N/A          Reserved
    197            N/A          Reserved
    198            N/A          Reserved
    199            N/A          Reserved
    200            N/A          Reserved
    201             Ma          Tax Transcript for Ragsdale for 2017
    202             Ma          Tax Transcript for Ragsdale for 2018
    203             Ma          Tax Transcript for Ragsdale for 2019
  Records related to Victim Javier and Betsy Sola
    204            Sola         Sola’s 2017 Taxes, as filed by Castro (54 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    205            Sola         Sola’s 2018 Taxes, as filed by Castro (64 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    206            Sola         Sola’s 2019 Taxes, as filed by Castro (59 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    207            Sola         2017 Client Info sheet for Sola (3 pages)                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    208            Sola         2017 Tax Interview Packet (32 pages)                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    209            Sola         2018 Tax Interview Packet (29 pages)                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    210            Sola         Second 2018 Tax Interview Packet (30 pages)                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    211            Sola         2017 Underlying documents provided by Sola (51 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    212            Sola         2018 Underlying documents provided by Sola (1 page)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    213            Sola         2019 Underlying documents provided by Sola (46 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    214            Sola         Spreadsheet of Sola 2019 Business Income and Expenses                                                (Admission stipulated by parties. See Dkt. No. 36.)

    215            Sola         February 7, 2018 Email from Castro to Sola (11:40 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    216            Sola         February 21, 2019 Email from Sola to Castro (8:44 am)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    217            Sola         February 11, 2020 Email from Sola to Castro employee (8:16 pm)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    218            Sola         February 15, 2020 Email from Castro employee to Sola (5:46 pm)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    219            Sola         February 19, 2020 Email from Sola to Castro (6:17 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    220            Sola         December 30, 2021 Email from Castro to Sola (9:39 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    221             Ma          Tax Transcript for Solas for 2017                                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    222             Ma          Tax Transcript for Solas for 2018                                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    223             Ma          Tax Transcript for Solas for 2019                                                                    (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Joseph and Kelley Zilinski
    224          Zilinski       Zilinski’s 2017 Taxes, as filed by Castro (38 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    225          Zilinski       Zilinski’s 2018 Taxes, as filed by Castro (57 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    226          Zilinski       Zilinski’s 2019 Taxes, as filed by Castro (44 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    227          Zilinski       2017 Client Info sheet for Zilinski (3 pages)                                                        (Admission stipulated by parties. See Dkt. No. 36.)

    228          Zilinski       2017 Tax Interview Packet for Zilinski (33 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    229          Zilinski       2018 Tax Interview Packet for Zilinski (29 Pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    230          Zilinski       2019 AI Tax Interview for Zilinski (22 Pages)                                                        (Admission stipulated by parties. See Dkt. No. 36.)

    231          Zilinski       April 22, 2019 Email from Castro & Co to Zilinski (12:22 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    232          Zilinski       March 22, 2021 Email from Castro to Zilinski (4:51 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    233          Zilinski       April 12, 2021 Email from Castro employee to Zilinski (1:54 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    234          Zilinski       April 26, 2021 Email from Castro employee to Zilinski (3:20 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    235          Zilinski       June 24, 2021 Email from Zilinski to Castro (2:18 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    236          Zilinski       June 30, 2021 Email from Castro & Co to Zilinski (10:48 am)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    237          Zilinski       October 12, 2021 Email from Castro & Co to Zilinski (5:07 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    238          Zilinski       October 14, 2021 Email from Castro to Zilinski (11:45 am)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    239          Zilinski       October 14, 2021 Email from Castro & Co to Zilinski (5:18 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    240          Zilinski       October 27, 2021 Email from Zilinski to Castro (10:12 am)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    241          Zilinski       December 22, 2021 Email from Zilinski to Castro employee (1:41 pm)                                   (Admission stipulated by parties. See Dkt. No. 36.)

    242          Zilinski       January 26, 2022 Email from Zilinski to Castro employee (3:16 pm)                                    (Admission stipulated by parties. See Dkt. No. 36.)

    243             Ma          Tax Transcript for Zilinskis for 2017                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    244             Ma          Tax Transcript for Zilinskis for 2018                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    245             Ma          Tax Transcript for Zilinskis for 2019                                                                (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

  Records related to Victims John and Kelley Meyer
    246           Meyer         Meyer’s 2017 Taxes, as filed by Castro (53 pages)
    247           Meyer         Meyer’s Amended 2017 Taxes, as filed by Willoughby (62 pages)
    248           Meyer         2017 Tax Summary and Instructions provided by Meyer to Castro (6 pages)
    249           Meyer         2017 Client Info form for Meyer (3 pages)
    250           Meyer         2017 Tax Interview Packet (33 pages)
    251           Meyer         March 14, 2018 Email from Meyer to Castro Employee (9:55 am)
    252           Meyer         January 24, 2019 Email from Castro to Meyer (7:45 pm)
    253           Meyer         February 2, 2019 Text Messages from Castro to Meyer (11:41 am)
    254           Meyer         February 20, 2019 Email from Castro to Kasper (1:39 pm)
    255             Ma          Tax Transcript for Meyers for 2017
  Records related to Victim Crystal Wells
    256           Wells         Wells 2017 Taxes, as filed by Castro (31 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    257           Wells         Wells 2018 Taxes, as filed by Castro (43 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    258           Wells         Wells 2019 Taxes, as filed by Castro (43 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    259           Wells         2017 Tax Interview Packet for Wells (31 pages)                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    260           Wells         2018 Tax Interview Packet for Wells (29 pages)                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    261           Wells         2019 AI Tax Interview for Wells (7 pages)                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    262             Ma          Tax Transcript for Wells for 2017                                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    263             Ma          Tax Transcript for Wells for 2018                                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    264             Ma          Tax Transcript for Wells for 2019                                                                    (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Brian and Kimberly Quigley
    265          Quigley        Quigley’s 2017 Taxes, as filed by Castro (39 pages)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    266          Quigley        Completed 2017 client form submitted by Castro to Quigleys (3 pages)                                 (Admission stipulated by parties. See Dkt. No. 36.)

    267          Quigley        2017 Tax Interview Packet for Quigleys (31 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    268          Quigley        Documents provided by Quigleys to Castro (68 pages)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    269          Quigley        Email from Castro & Co. to Quigleys, dated January 31, 2018 (7:51 pm)                                (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    270          Quigley        Email from Quigleys to Castro, dated February 1, 2018 (8:31 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    271          Quigley        Email from Castro to Quigleys, dated February 1, 2018 (8:59 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    272          Quigley        Email from Castro to Quigleys, dated February 1, 2018 (10:08 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    273          Quigley        Email from Quigleys to Castro, dated February 1, 2018 (10:34 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    274          Quigley        Email from Castro to Quigleys dated February 2, 2018 (5:59 pm)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    275          Quigley        Email from Castro to Quigleys, dated February 7, 2018 (2:37 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    276          Quigley        February 7, 2018 Tax proposal from Castro to Quigley                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    277          Quigley        Email from Quigleys to Castro, dated February 7, 2018 (3:14 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    278          Quigley        Email from Quigleys to Castro dated April 18, 2018 (4:38 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    279          Quigley        Email from Castro to Quigleys dated April 25, 2018 (3:58 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    280          Quigley        Email from the Quigleys to Castro, dated June 20, 2018 (3:47 p.m.)                                   (Admission stipulated by parties. See Dkt. No. 36.)

    281             Ma          Tax Transcript for Quigley for 2018                                                                  (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Michael and Mirjana Putica
    282           Putica        Putica’s 2019 Taxes, as filed by Castro (77 pages)
    283           Putica        2019 AI Tax Questionnaire for Putica (7 pages)
    284           Putica        Rental Income and Expenses provided by Putica
    285           Putica        Client info form
    286           Putica        Schedule C Income and Expenses
    287           Putica        March 24, 2020 Email from Castro Employee to Putica (4:26 pm)
    288           Putica        March 25, 2020 Email from Putica to Castro Employee (11:17 am)
    289           Putica        June 26, 2020 Email from Putica to Castro Employee (11:35 pm)
    290           Putica        July 29, 2020 Email from Castro to Putica (4:16 pm)
    291           Putica        January 8, 2021 Email from Castro to Putica (11:55 am)
    292           Putica        Form 14157-A Preparer Fraud Form submitted by Putica (110 pages)
    293            N/A          Tax Proposal letter dated April 11, 2020
    294            N/A          Reserved
    295            N/A          Reserved



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    296             Ma          Tax Transcript for Puticas for 2019
  Records related to Victims Michael and Angelita Natt
    297            Natt         Natt 2017 Taxes, as filed by Castro (47 pages)
    298            Natt         Natt 2017 Amended Taxes, as filed by Castro (24 pages)
    299            Natt         2017 Tax Interview Packet for Natt (33 pages)
    300            Natt         Form 14157-A Preparer Fraud Form submitted by Natt
    301            Natt         Email from Natt to Castro dated August 1, 2018
    302            Natt         Email from Castro employee to Natt, dated August 1, 2018
    303            Natt         Email from Natt to Castro dated August 15, 2018
    304            Natt         Email from Castro to Natt dated September 2, 2018
    305            Natt         Instant Messages between Castro employees regarding Natt
    306            Natt         September 25, 2018 Email from Natt to Castro
    307            Natt         Natt’s 2017 Tax Return Comments and Questions (3 pages)
    308            Natt         November 8, 2018 Email from Hunt to Castro
    309            Natt         November 8, 2018 Email from Castro to Hunt
    310            Natt         November 28, 2018 Email from Castro to Natt
    311            Natt         Castro feedback to Natt’s Comments for 2017 Tax Return Comments and Questions
    312            Natt         January 15, 2019 Email from Natt to Castro
    313            Natt         March 5, 2019 Email Exchange between Natt and Castro
    314            Natt         Instant messages between Castro employees
    315            Natt         April 3, 2019 Email from Castro to A. Garza re: instant messages
    316            Natt         April 3, 2019 Email from Castro & Co. to Natt
    317            Natt         May 2, 2019 Email from Natt to Castro & Co.
    318            Natt         May 2, 2019 Email from Castro to Castro Employee
    319            N/A          Reserved
    320            Natt         May 8, 2019 Email from Natt to Castro
    321            Natt         May 9, 2019 Email from Castro & Co. to Natt



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    322            Natt         July 29, 2021 Email from Natt to Castro & Co.
    323            Natt         January 30, 2021 Email from Castro & Co. to Natt
    324            Natt         Underlying documents provided by Natt (24 pages)
    325             Ma          Tax Transcript for Natts for 2017
  Records related to Victim Ahmad Lampkin
    326         Lampkin         Lampkin 2017 Taxes, as filed by Castro (23 pages)
    327         Lampkin         Lampkin Amended 2017 Taxes, as filed by Castro (9 pages)
    328         Lampkin         Lampkin 2018 Taxes, as filed by Castro (31 pages)
    329         Lampkin         Lampkin 2018 Amended Taxes, as filed by Castro (15 pages)
    330         Lampkin         Form 14039 Identity Theft Form submitted by Lampkin (10 pages)
    331         Lampkin         Form 14039 Identity Theft Form submitted by Lampkin (5 pages)
    332         Lampkin         Form 14157-A Preparer Fraud Form submitted by Lampkin (37 pages)
    333         Lampkin         Client info sheet for Lampkin for 2015 (4 pages)
    334         Lampkin         2017 Tax Interview Packet for Lampkin (33 pages)
    335         Lampkin         2018 Tax Interview Packet for Lampkin (30 pages)
    336         Lampkin         2017 Treasury Check Information System transactions (5 pages)
    337         Lampkin         2018 Treasury Check Information System transactions (7 pages)
    338         Lampkin         2019 Treasury Check Information System transactions (34 pages)
    339         Lampkin         2021 Treasury Check Information System transactions (5 pages)
    340         Lampkin         AMS Transcript for Lampkin (18 pages)
    341         Lampkin         June 14, 2016 Email from Lampkin to Castro (12:50 pm)
    342         Lampkin         March 5, 2018 Email from Castro to Castro Employee (3:28 pm)
    343         Lampkin         April 25, 2018 Email from Castro to Lampkin (10:36 pm)
    344         Lampkin         September 5, 2018 Email from Castro Employee to Lampkin (10:42 am)
    345         Lampkin         September 21, 2018 Email from Castro Employee to Castro (11:30 am)
    346         Lampkin         March 30, 2019 Email from Lampkin to Castro Employee (3:17 pm)
    347         Lampkin         May 31, 2019 Email Lampkin to Castro (6:02 pm)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    348         Lampkin         June 14, 2019 Email from Lampkin to Castro Employee (4:12 pm)
    349         Lampkin         June 20, 2019 Email from Lampkin to Castro Employee (11:33 am)
    350         Lampkin         June 20, 2019 Email from Lampkin to Castro (3:48 pm)
    351         Lampkin         June 25, 2019 Email from Lampkin to Castro (10:59 pm)
    352             Ma          Tax Transcript for Lampkin for 2018
    353             Ma          Tax Transcript for Lampkin for 2017
  Records related to Victim Fabio Ramos
    354           Ramos         Ramos 2019 Taxes, as filed by Castro (78 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    355           Ramos         Client Info Form for 2019 (3 pages)                                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    356           Ramos         Spreadsheet created by Ramos for business income and expenses                                        (Admission stipulated by parties. See Dkt. No. 36.)

    357           Ramos         Spreadsheet created by Ramos for rental income and expenses                                          (Admission stipulated by parties. See Dkt. No. 36.)

    358           Ramos         Written Summary provided by Ramos                                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    359           Ramos         July 7, 2020 Email from Castro & Co. to Ramos (11:59 am)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    360           Ramos         July 7, 2020 Email from Castro & Co. to Ramos (2:22 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    361           Ramos         July 8, 2020 Email from Ramos to Castro & Co. (1:05 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    362           Ramos         July 8, 2020 Email from Castro & Co. to Ramos (3:03 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    363           Ramos         July 10, 2020 Email from Castro & Co. to Ramos (3:04 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    364           Ramos         July 10, 2020 Email from Castro & Co. to Ramos (7:37 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    365           Ramos         July 13, 2020 Email Castro & Co. to Ramos (3:41 pm)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    366           Ramos         July 13, 2020 Email from Castro & Co. to Ramos (5:38 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    367           Ramos         July 28, 2020 Email from Castro & Co. to Ramos (1:47 am)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    368           Ramos         July 28, 2020 Email from Castro & Co. to Ramos (11:38 am)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    369           Ramos         July 29 and July 30 Email Exchange between Ramos and Castro                                          (Admission stipulated by parties. See Dkt. No. 36.)

    370           Ramos         August 10, 2020 Email from Ramos to Castro (12:45 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    371           Ramos         October 1, 2020 Email from Ramos to Castro & Co. (08:10 pm)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    372           Ramos         October 5, 2020 Email from Barnes to Ramos (11:31 am)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    373           Ramos         AI Tax Questionnaire for Ramos (9 pages)                                                             (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    374           Ramos         October 21, 2020 Email from Ramos to Barnes (3:12 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    375           Ramos         November 6, 2020 Email from Ramos to Barnes (12:10 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    376            N/A          Reserved                                                                                             (Admission stipulated by parties. See Dkt. No. 36.)

    377           Ramos         November 17, 2020 Email from Ramos to Castro & Co. (8:07 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    378           Ramos         December 8, 2020 Email from Humphreys to Ramos (12:36 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    379           Ramos         December 8, 2020 Email from Ramos to Humphreys (3:29 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    380           Ramos         December 9, 2020 Email from Ramos to Barnes and Garza (8:56 am)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    381           Ramos         February 24, 2021 Email from Castro to Ramos and Garza (4:15 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    382           Ramos         February 24, 2021 Email from Garza to Ramos (4:32 pm)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    383           Ramos         June 8, 2021 Email from Garza to Ramos (1:42 pm)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    384           Ramos         June 8, 2021 Email from Ramos to Garza (5:46 pm)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    385           Ramos         June 9, 2021 Email from Garza to Ramos (9:58 am)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    386             Ma          Tax Transcript for Ramos for 2019                                                                    (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Federico and Justine Turatti
    387           Turatti       Turatti 2017 Taxes, as filed by Castro (62 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    388           Turatti       Turatti 2018 Taxes, as filed by Castro (63 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    389           Turatti       Turatti 2019 Taxes, as filed by Castro (41 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    390           Turatti       Turatti 2017 Amended Taxes, as filed by Dichter (38 pages)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    391           Turatti       Turatti 2018 Amended Taxes, as filed by Dichter (21 pages)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    392           Turatti       Turatti 2019 Amended Taxes, as filed by Dichter (22 pages)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    393           Turatti       2017 Tax Proposal dated February 25, 2018 (2 pages)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    394           Turatti       2017 Tax Revised Proposal dated February 26, 2018 (2 pages)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    395           Turatti       Second version of 2017 Tax Revised Proposal dated February 26, 2018 (2 pages)                        (Admission stipulated by parties. See Dkt. No. 36.)

    396           Turatti       2018 Tax Proposal (2 pages)                                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    397           Turatti       2019 Tax Proposal (2 pages)                                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    398           Turatti       2017 Client Info form for Turatti (3 pages)                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    399           Turatti       2017 Tax Interview packet for Turatti (33 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    400           Turatti       2018 Tax Interview packet for Turatti (29 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    401           Turatti       2019 AI Tax Interview for Turatti (22 pages)                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    402           Turatti       February 26, 2018 Email from Castro to Turatti (3:59 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    403           Turatti       February 26, 2018 Email from Castro to Turatti (8:43 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    404           Turatti       June 5, 2018 Email from Castro to Turatti (1:02 pm)                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    405             Ma          Tax Transcript for Turattis for 2017                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    406             Ma          Tax Transcript for Turattis for 2018                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    407             Ma          Tax Transcript for Turattis for 2019                                                                 (Admission stipulated by parties. See Dkt. No. 36.)
  Business Record Certifications
    408             Ma          Bank of America for Account 4868
    409             Ma          Chase Master Certification
    410             Ma          CCH
    411             Ma          Charter Communications
    412            N/A          Reserved
    413             Ma          Texas A&M International University
    414             Ma          Georgetown University Law Center
    415             Ma          SmartVault
    416            N/A          Reserved
    417            N/A          Reserved
    418            N/A          Reserved
    419             Ma          Chase Account 5976 Transactions (December 2018 – July 2020)
    420             Ma          Chase Account 1797 (April 2018)
    421             Ma          Chase Account 1797 Transactions (December 2018 – August 2020)
    422            N/A          Reserved
    423            N/A          Reserved
    424             Ma          Chase Account 1382 Transactions (December 2018 – July 2020)
    425            N/A          Reserved



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    426             Ma          Chase Account 6632 Transactions (October 2018 – September 2020)
    427            N/A          Reserved
    428             Ma          Chase Account 8072 Transactions (December 2018 – April 2020)
    429            N/A          Reserved
    430             Ma          Chase Account 3116 Transactions (December 2018 – July 2020)
    431            N/A          Reserved
    432            N/A          Reserved
    433             Ma          Chase Account 3055 Transactions (December 2018 – August 2020)
  Accountant Version of Taxes from Castro Software
    434          Jackson        Jackson 2017 Taxes (Accountant Version from Castro software)
    435          Clayton        Clayton 2017 Taxes (Accountant Version from Castro software)
    436           Boggs         Boggs 2017 Taxes (Accountant Version from Castro software)
    437           Boggs         Boggs 2018 Taxes (Accountant Version from Castro software)
    438           Boggs         Boggs 2019 Taxes (Accountant Version from Castro software)
    439           Rivera        Rivera 2017 Taxes (Accountant Version from Castro software)
    440           Rivera        Rivera 2018 Taxes (Accountant Version from Castro software)
    441           Rivera        Rivera 2019 Taxes (Accountant Version from Castro software)
    442       Karavangelos      Karavangelos 2017 Taxes (Accountant Version from Castro software)
    443       Karavangelos      Karavangelos 2018 Taxes (Accountant Version from Castro software)
    444       Karavangelos      Karavangelos 2019 Taxes (Accountant Version from Castro software)
    445         Ragsdale        Ragsdale 2017 Taxes (Accountant Version from Castro software)
    446         Ragsdale        Ragsdale 2018 Taxes (Accountant Version from Castro software)
    447         Ragsdale        Ragsdale 2019 Taxes (Accountant Version from Castro software)
    448            Sola         Sola 2017 Taxes (Accountant Version from Castro software)
    449            Sola         Sola 2018 Taxes (Accountant Version from Castro software)
    450            Sola         Sola 2019 Taxes (Accountant Version from Castro software)
    451          Zilinski       Zilinski 2017 Taxes (Accountant Version from Castro software)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    452          Zilinski       Zilinski 2018 Taxes (Accountant Version from Castro software)
    453          Zilinski       Zilinski 2019 Taxes (Accountant Version from Castro software)
    454           Meyer         Meyer 2017 Taxes (Accountant Version from Castro software)
    455           Wells         Wells 2017 Taxes (Accountant Version from Castro software)
    456           Wells         Wells 2018 Taxes (Accountant Version from Castro software)
    457           Wells         Wells 2019 Taxes (Accountant Version from Castro software)
    458          Quigley        Quigley 2017 Taxes (Accountant Version from Castro software)
    459           Putica        Putica 2019 Taxes (Accountant Version from Castro software)
    460            Natt         Natt 2017 Taxes (Accountant Version from Castro software)
    461         Lampkin         Lampkin 2017 Taxes (Accountant Version from Castro software)
    462         Lampkin         Lampkin 2018 Taxes (Accountant Version from Castro software)
    463           Ramos         Ramos 2019 Taxes (Accountant Version from Castro software)
    464           Turatti       Turatti 2017 Taxes (Accountant Version from Castro software)
    465           Turatti       Turatti 2018 Taxes (Accountant Version from Castro software)
    466           Turatti       Turatti 2019 Taxes (Accountant Version from Castro software)
  Additional Bank Records
    467             Ma          Chase Account 5036 (April 2018)
    468             Ma          Treasury Check Information System Payments Details for Karavangelos
    469             Ma          Chase Account 1382 (May 2018)
    470             Ma          Chase Account 1382 Transactions (December 2018 – July 2020)
    471             Ma          Chase Account 6632 (March 2018)
    472             Ma          Chase Account 6632 Transactions (October 2018 – September 2020)
    473             Ma          Chase Account 8072 (April 2018)
    474             Ma          Chase Account 8072 Transactions (December 2018 – April 2020)
    475             Ma          Chase Account 3116 (April 2018)
    476             Ma          Chase Account 3116 Transactions (December 2018 – July 2020)
    477             Ma          Chase Account 5985 (March 2018)



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                Sponsoring
   Ex. #         Witness
                                Description of Exhibit                                                                                 Identified         Offered              Admitted

    478             Ma          Chase Account 5901 (September 2020)
    479             Ma          Treasury Check Information System Payment Details for Ramos (2020 & 2021)
    480             Ma          Chase Account 3055 Transactions (December 2018 – August 2020)


                                                                                                                                     Respectfully submitted,


                                                                                                                                     /s/ P.J. Meitl
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